                   Case 2:20-cv-00682-BJR Document 8 Filed 06/30/20 Page 1 of 3



                                                             The Honorable BARBARA J. ROTHSTEIN
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                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8
     BRIAN BAKER,                                       )
 9                                                      )   NO. 2:20-cv-00682-BJR
10                                         Plaintiff,   )
                                                        )   PLAINTIFF’S NOTICE OF DISMISSAL
11           v.                                         )   WITHOUT COURT ORDER [FRCP 41
                                                        )   (a)(1)(A)(i)]
12   SHIN FAMILY LLC,                                   )
13                                                      )
                                        Defendant.      )
14                                                      )

15
16   Plaintiff BRIAN BAKER, through his undersigned counsel, states that a settlement agreement
17   has been reached between the Parties, and Defendant has not served an answer or a motion for
18   summary judgment. As a result, Plaintiff gives notice that the above-entitled action is voluntarily
19   dismissed, with prejudice, in accordance with Rule 41(a)(l)(A)(i) of the Federal Rules of Civil
20   Procedure, each party to bear his, her, or its own costs.
21
     DATED: June 30, 2020            WASHINGTON CIVIL & DISABILITY ADVOCATE
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                                                                    WASHINGTON CIVIL & DISABILITY ADVOCATE
     NOTICE OF DISMISSAL WITHOUT COURT ORDER
                                                                    4115 ROOSEVELT WAY, NW
     NO. 2:20-cv-00682-BJR                                          SUITE B
                                                                    SEATTLE, WA 98105
                                                                    206.428-3558



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                   Case 2:20-cv-00682-BJR Document 8 Filed 06/30/20 Page 2 of 3




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                                                    By s/Jill Sulzberg
 3                                                    Conrad Reynoldson, WSBA No. 48187
                                                      Jill Sulzberg, WSBA No. 55946
 4                                                    4115 Roosevelt Way NE, Suite B
                                                      Seattle, WA 98105
 5
                                                      Telephone: 206.971.1124
 6                                                    Conrad@wacda.com
                                                      Jill@wacda.com
 7                                                  Attorneys for Plaintiff Brian Baker

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                                                             WASHINGTON CIVIL & DISABILITY ADVOCATE
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                   Case 2:20-cv-00682-BJR Document 8 Filed 06/30/20 Page 3 of 3




 1
                                         CERTIFICATE OF SERVICE
 2
               I hereby certify under penalty of perjury under the laws of the State of Washington and
 3
     the United States that on June 30, 2020, I electronically filed the foregoing with the Clerk of the
 4
     Court using the CM/ECF system which will send notification of such filing to the following:
 5
 6
     Jason J. Hoeft,
 7   Emery Reddy
 8   600 Stewart Street
     Suite 1100
 9   Seattle, WA 98101
     Telephone: 206.442.9106
10   Jason@emeryreddy.com
     Attorney for Defendant
11
12
13             DATED this 30th day of June, 2020.

14                                                    s/ Jill Sulzberg
                                                      Jill Sulzberg. WSBA #55946
15                                                    Washington Civil & Disability Advocate
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                                                                  WASHINGTON CIVIL & DISABILITY ADVOCATE
     NOTICE OF DISMISSAL WITHOUT COURT ORDER
                                                                  4115 ROOSEVELT WAY, NW
     NO. 2:20-cv-00682-BJR                                        SUITE B
                                                                  SEATTLE, WA 98105
                                                                  206.428-3558



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